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  8                            UNITED STATES DISTRICT COURT
  9              CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
10
11 LEGALZOOM.COM, INC., a                           Case No. 2:15-cv-9255
   Delaware Corporation,
12                                                  PETITION TO CONFIRM
                Petitioner,                         ARBITRATION AWARD
13
           vs.
14
   LAW OFFICES OF PRINCE &
15 ASSOCIATES, LLC, a Florida limited
   liability company, DAVID PRINCE, an
16 individual, and JASON SEARNS, an
   individual
17
                Respondents.
18
19
20               Petitioner, LegalZoom.com, Inc. (“LegalZoom”) hereby submits this petition,
21 to confirm and enter as judgment the arbitration award entered in favor of
22 LegalZoom against respondents, the Law Offices of Prince & Associates, LLC
23 (“Prince”), David Prince (“David”), and Jason Searns (“Jason”) (collectively,
24 “Respondents”).
25                                            PARTIES
26               1.    Petitioner, LegalZoom is a Delaware corporation, having its principal
27 place of business in Los Angeles County, California.
28               2.    LegalZoom is informed and believes, and based thereon alleges, that

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  1 Respondent Prince is a Florida limited liability company.
  2              3.   LegalZoom is informed and believes, and based thereon alleges, that
  3 Respondents David and Jason, individuals, are the principals of Prince and are
  4 residents of Florida and Colorado, respectively.
  5                               JURISDICTION AND VENUE
  6              4.   The jurisdiction of this Court is invoked pursuant to 28 U.S.C. §
  7 1332(a)(1) in that the matter in controversy exceeds the sum of $75,000 and is
  8 between citizens of different States.
  9              5.   Venue is proper in the Central District of California in that the events
10 on which the claims are based occurred in this District (28 U.S.C. § 1391(a)(2)), and
11 this District was contractually agreed upon by the parties.
12                                  GENERAL ALLEGATIONS
13               6.   On or about May 31, 2013, LegalZoom and Prince entered into the
14 LegalZoom Advertising Agreement, which was subsequently amended and restated
15 as of September 17, 2013, by way of the First Amended and Restated LegalZoom
16 Advertising Agreement, and which was further amended and restated as of
17 September 30, 2013, by way of the Second Amended and Restated LegalZoom
18 Advertising Agreement (collectively, the “Agreement”). A true and correct copy of
19 the Agreement, as amended, is attached hereto as Exhibit “A.”
20               7.   Pursuant to the Agreement, LegalZoom was to provide certain
21 advertising services on behalf of Prince in exchange for agreed-upon payments.
22 LegalZoom performed all of its obligations under the Agreement, pursuant to which
23 LegalZoom issued invoices to Prince totaling $463,350 (the “Principal Sum”).
24               8.   Upon Prince’s continued failure to pay the Principal Sum, LegalZoom
25 commenced an arbitration proceeding against Prince (the “Arbitration”) in Los
26 Angeles, California, before Hon. Lawrence W. Crispo (Ret.), in accordance with
27 Paragraph 12.7 of the Agreement.
28               9.   In the Arbitration, the parties agreed to resolve their dispute by way of

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  1 a stipulated consent award (the “Award”) and a settlement agreement (the
  2 “Settlement”), both executed on or around December 30, 2014, with the Award
  3 being entered by Judge Crispo on December 31, 2014. True and correct copies of
  4 the Award and the Settlement are attached hereto as Exhibits “B” and “C,”
  5 respectively. The arbitrators’ award was made in accordance with the terms and
  6 provisions of the parties’ written agreement and is in all respects proper.
  7              10.   Pursuant to the Settlement, the parties agreed that David and Jason
  8 would be added as defendants alongside Prince in the Arbitration. David and Jason
  9 thus appeared in the Arbitration and agreed that the Award and the Settlement
10 would be final and binding as to all Respondents – Jason and David, as well as
11 Prince. See Settlement, Paragraph 2(1).
12               11.   Pursuant to the Award and the Settlement, Respondents agreed and
13 acknowledged that the Principal Sum of $463,350 accurately reflects the amounts
14 due and owing to LegalZoom under the terms of the Agreement, and that
15 Respondents waived any defenses to, or rights of offset against, said amount. See
16 Award, Recital D; Settlement, Recital D.              The parties further agreed that the
17 counter-claim Prince filed in the Arbitration was dismissed with prejudice. See
18 Award, Paragraph 2. Any and all potential counter-claims, offsets, or defenses to
19 the claims giving rise to the Award, or to the amount thereof, are thus waived and
20 dismissed with prejudice, pursuant to the Award, as entered by Judge Crispo. The
21 parties agreed that the Award would be in favor of LegalZoom and against
22 Defendants, and each of them, jointly and severally, in the amount of $463,350.
23               12.   The Settlement sets forth payment terms, pursuant to which
24 Respondents agreed to pay LegalZoom a total of $287,000 (the “Settlement
25 Amount”), on an agreed-upon schedule, in settlement and satisfaction of the
26 amounts agreed by all parties to be owed pursuant to the Award.
27               13.   The parties further agreed that, in the event that Respondents defaulted
28 in making the payments as set forth in the Settlement Agreement, judgment against

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  1 Respondents would be entered in the full amount of the Award, offset by any
  2 payments Respondents made thereunder. See Award, Paragraph 3.
  3              14.   Respondents have breached the Settlement Agreement by their failure
  4 to timely make payments due thereunder. Offsetting payments Respondents have
  5 made against their total outstanding obligation to LegalZoom (i.e., $97,500), the
  6 remaining balance of the Award is $365,850, and LegalZoom is now entitled to
  7 payment of that full amount from Respondents.
  8              15.   No application has been made to the arbitrator for correction of the
  9 award.
10               WHEREFORE, Petitioner hereby prays for relief against Respondents as
11 follows:
12               A.    An Order confirming the arbitrator’s award;
13               B.    Entry of final judgment in favor of LegalZoom, and against
14 Respondents, Prince, David, and Jason, jointly and severally, in the amount of
15 $365,850, which is the $463,350 amount of the Award, offset by payments that
16 Respondents have made thereunder.
17               C.    Costs of suit herein.
18               D.    Such other and further relief as the Court deems proper.
19 Dated: December 1, 2015                     RESCH POLSTER & BERGER LLP
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21
                                               By:                       /S/
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                                                              ANDREW V. JABLON
23                                                       Attorneys for Legalzoom.com, Inc.
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